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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    LARRY SMITH,                                      No. 2:20-CV-0071-DAD-DMC-P
12                       Plaintiff,
13           v.                                         ORDER
14    CONNIE GIPSON, et al.,
15                       Defendants.
16

17                  Plaintiff, a prisoner proceeding pro se, brings this civil rights action pursuant to

18   42 U.S.C. § 1983.

19                  On March 7, 2024, the undersigned issued findings and recommendations that

20   Defendants’ unopposed motion for summary judgment be granted. See ECF No. 75. On April

21   14, 2024, the District Judge issued an order declining to adopt the findings and recommendations.

22   See ECF No. 79. Specifically, the District Judge noted that there appears to be a genuine dispute

23   of material fact as to whether Plaintiff requested a religious accommodation from Defendants.

24   See id. at 3. The District Judge referred the matter back to the undersigned for issuance of new

25   findings and recommendations consistent with the April 14, 2024, order and to provide Plaintiff

26   an additional “short, but reasonable, period of time in which to file an opposition” to Defendants’

27   motion for summary judgment. Id., n.3.

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 1                 Accordingly, IT IS HEREBY ORDERED that Plaintiff may file an opposition to

 2   Defendants’ motion for summary judgment within 45 days of the date of this order.

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 4   Dated: June 13, 2024
                                                         ____________________________________
 5                                                       DENNIS M. COTA
 6                                                       UNITED STATES MAGISTRATE JUDGE

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